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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION

ASBERRY BARRY POSTELL                             §

VS                                                §                  CIVIL ACTION NO. 1:20cv83

ANITA R. BREAUX                                   §

                      ORDER ADOPTING THE MAGISTRATE JUDGE’S
                          REPORT AND RECOMMENDATION
       Plaintiff Asberry Barry Postell, proceeding pro se, brought this civil rights lawsuit. The

Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate Judge.

The Magistrate Judge has submitted a Report and Recommendation of United States Magistrate
Judge. The Magistrate Judge recommends dismissing the lawsuit without prejudice pursuant to

Federal Rule of Civil Procedure 41(b).

       The Court has received and considered the Report and Recommendation of United States

‘Magistrate Judge, along with the record and pleadings. Proper notice has been given to plaintiff at

his last known address.      See FED. R. CIV. P. 5(B)(2)(C).        The copy of the Report and

Recommendation sent to plaintiff was returned with a notation indicating plaintiff is no longer at the

address provided. Plaintiff has failed to provide the Court with a new address, in contravention of

Local Rule CV-11(d). No objections were filed to the Report and Recommendation.

                                              ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ADOPTED as the opinion of the Court. A final judgment

shall be entered in accordance with the recommendation of the Magistrate Judge.


                                      SIGNED this 4th day of November, 2020.




                                                                     ____________________________
                                                                     Michael J. Truncale
                                                                     United States District Judge
